                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION



IN RE BROILER CHICKEN ANTITRUST                 Case No. 1:16-cv-08637
LITIGATION
This Document Relates To: All Actions
                                                ORDER REGARDING SEARCH
                                                METHODOLOGY FOR
                                                ELECTRONICALLY STORED
                                                INFORMATION



        This Order Regarding Search Methodology for Electronically Stored Information
(“Search Methodology Order”) shall govern the Parties in the above-captioned case whether they
currently are involved or become so in the future, and any related actions that may later be
consolidated with this case (collectively, the “Litigation”).
I.     DOCUMENT SOURCE DISCLOSURES

       A.     Transparency: With the goal of permitting requesting Parties an appropriate
              level of transparency into a producing Party’s electronic search process, without
              micromanaging how the producing Party meets its discovery obligations and
              without requiring the disclosure of attorney work product or other privileged
              information, the Parties will endeavor to be reasonably transparent regarding the
              universe of documents subject to targeted collections or culling via search terms
              and/or TAR/CAL.

       B.     Pre-Search Deduplication & Culling of Collected Data:

              1.     De-Duplication: Before running either of the Search Processes below in
                     ¶ II, data should be de-duplicated by hash value across all agreed or Court-
                     ordered document custodians.

              2.     Email Threading: If the producing Party’s search software has the
                     capability, then the producing Party may choose to only include inclusive
                     emails in the data set subject to the Keyword and/or TAR/CAL Search
                     Process, including the data set against which keyword searches are tested.
                     A producing Party will disclose whether or not they are testing search
                     terms in a set of data that excludes non-inclusive emails. Non-inclusive
                     emails do not need to be searched, reviewed, or produced in this matter.
                     See ESI Protocol, Dkt. 459, ¶ IV(D)(1).

              3.     Email Domains: Should the requesting Party want certain email domains
                     excluded from the data set against which search terms are tested, the
                    requesting Party must provide a list of such domain names to the
                    producing Party ahead of the producing Party’s testing of search terms.
                    Likewise, if the producing Party identifies domains that it believes should
                    be eliminated, it will produce a list of those domain names to the
                    requesting Party. See ESI Protocol, ¶ IV(D)(2). Plaintiffs’ analysis to
                    date of the Florida AG productions made by certain Defendants indicates
                    there are a large variety of industry email newsletters that can be culled
                    (i.e., excluded from a Defendant’s review and production of documents)
                    where there are no internal forwards of such documents after their receipt.
                    Plaintiffs agree to provide a list of these domain names prior to
                    Defendants undertaking a search of their data.

             4.     Targeted Collections: Only documents a producing Party intends to
                    subject to electronic searching parameters should be included in the data
                    set against which search terms are tested. As an example, a centralized,
                    non-custodial folder of responsive Agri Stats reports that a party intends to
                    produce in its entirety (to the extent not privileged) should not be included
                    in the data set against which search terms are tested.

             5.     Exception Reporting: For any documents not otherwise identified as
                    system or operating files, the producing Party must disclose processing
                    exceptions that are unresolved at the end of the discovery period, such as
                    documents that cannot be opened due to encryption or other issues.

             6.     Disclosure of Other Culling Parameters Required: A producing Party
                    is permitted to cull data using the agreed-upon custodial and non-custodial
                    sources, agreed-upon date parameters, and agreed-upon search terms (if
                    applicable), and a producing Party is permitted to remove known system
                    or operating files, such as those that appear on the National Software
                    Reference Library (NSRL) hash list. As such, the Parties may cull entire
                    file directories from computer hard drives that contain Program Files,
                    Program Data, SWTOOLs, Windows Operating System files, etc. For
                    those excluded directories, the Parties will only conduct searches on user-
                    created content that is reviewable and likely to yield relevant content. To
                    the extent a producing Party elects to use additional culling parameters,
                    those parameters will be disclosed.

II.   SEARCH METHODS

        The following TAR/CAL and Keyword Search Processes govern how collected data may
be electronically culled in this matter.

      A.     TAR/CAL Search Process:

             1.     Use of Search Terms with TAR/CAL:

                    a.     No later than December 22, 2017, the requesting Party will
                           propose to a producing Party a limited number of Document
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                  Custodians for whom, across their email only, it requests that no
                  search term pre-culling be used prior to applying TAR/CAL during
                  the review process. However, the other data culling parameters
                  described in ¶ I(B) may be applied to these Document Custodians,
                  including to their email.

           b.     No later than January 12, 2018, the Parties will meet and confer on
                  any issues or disputes regarding the requesting Party’s proposals.

     2.    Producing Party TAR/CAL Disclosures:

           a.     No later than January 19, 2018, a producing Party that elects to use
                  TAR/CAL will disclose the following information regarding its use
                  of a TAR/CAL process: (a) the name of the TAR/CAL software
                  and vendor, (b) a general description of how the producing Party’s
                  TAR/CAL process will work, including how it will train the
                  algorithm, such as using exemplars, keyword search strings, or
                  some other method, (c) a general description of the categories or
                  sources of the documents included or excluded from the TAR/CAL
                  process, and (d) what quality control measures will be taken.

     3.    Requesting Party Response:

           a.     Within 7 days of receiving a producing Party’s TAR/CAL
                  Disclosures, the requesting Party may raise with the producing
                  Party any concerns with the proposed TAR/CAL process or
                  categories of documents that it proposes should be excluded from
                  the TAR/CAL process. A requesting Party may also propose any
                  exemplars it proposes be used to train a TAR/CAL tool or narrow
                  keyword search strings it proposes be used to generate exemplars
                  to train a TAR/CAL tool. A producing Party retains the right to
                  reject and oppose any such requests, subject to resolution by the
                  Special Master and/or the Court.

     4.    Cooperation: The Parties agree to work together in good faith to resolve
           any differences that they may have over the producing Party’s use of
           TAR/CAL and its processes, recall, and validation proposals. If an
           agreement cannot be timely reached, then the Parties agree to raise this
           issue with the Special Master and to follow her direction absent the
           showing of good cause to the contrary, and subject to the Parties’ rights to
           petition the Court for review of or relief from any decision or guidance
           provided by the Special Master.

B.   Keyword Search Process:

     1.    Iterative Process: Developing efficient keyword search terms is an
           iterative process and will require transparent and cooperative efforts by
           both the producing and requesting Party; however, it is important to set
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     certain limits in order to effectively and efficiently manage time and
     expense.

2.   Search Software Disclosures: No later than January 12, 2018, the
     producing Parties will disclose any search software they have decided to
     use (including version number) and that software’s default stop/noise
     words and search language syntax. Additionally, the Parties should use
     best efforts to disclose information that answers these questions regarding
     their search tool:

     a.     What stop words have been excluded from the index (if different
            than the default stop words for the tool)?

     b.     Can searches be constrained by upper- and lowercase?

     c.     Can numbers and single letters be searched?

     d.     Are there characters that cannot be searched or are treated as
            spaces or ignored?

     e.     How are diacritics resolved?

     f.     Can searches be run on metadata fields?

     g.     Are proximity-limited search terms subject to an evaluation order,
            e.g., will terms structured X w/5 Y yield hits if the text reads Y
            w/5 X?

     h.     Does the tool offer synonym searching?

     i.     How does the tool account for common misspellings?

3.   First Phase Search Term Proposals:

     a.     Producing Party Proposes an Initial Set of Search Terms: No later
            than January 19, 2018, the producing Party will propose a set of
            search terms. The producing Party’s proposal will include, to the
            extent known, semantic synonyms and common spellings of the
            keywords proposed. Where a producing Party seeks to exclude
            false positives (aka, “noise hits”) by modifying or excluding
            certain keywords, then it will supply contextual examples of such
            false positives to explain why they must be excluded.

     b.     Requesting Party’s Proposed Revisions: Within 12 days of
            receiving the initial proposed search terms, the requesting Party
            will provide any proposed revisions to the producing Party’s
            search terms.


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     c.    Producing Party Provides Information Sufficient to Support Its
           Objections: Within 8 days of receipt of the requesting Party’s
           proposed revisions, the producing Party will provide information
           sufficient to support its objections to specific search terms, which
           could include, for example, estimates of the incremental number of
           false positive hits and the incremental number of true positive hits
           introduced by the disputed search terms, as well as examples of the
           false positive hits.

     d.    Cooperation: The producing Party and the requesting Party will
           work together in good faith to reasonably narrow the number of
           documents returned via search term hits and narrow the number of
           irrelevant documents captured as a result of the search terms. To
           the extent any disputes remain concerning the sufficiency of the
           producing Party’s information in support of its objections and/or
           the use of specific search terms after good faith negotiations have
           occurred, either Party may request the assistance of the Special
           Master in resolving such disputes.

4.   Second Phase Search Term Proposals:

     a.    Requesting Party Proposes an Additional Set of Search Terms: The
           Parties agree that Plaintiffs collectively and Defendants
           collectively may propose additional search terms to a producing
           Party one time. No later than May 14, 2018 (60 days after the
           Court-ordered March 15, 2018 deadline for “Rolling Production of
           Documents, Prioritizing Custodians as Agreed by the Parties or
           Ordered by the Court” (Dkt. 574)), the requesting Party may
           propose a set of additional search terms. The requesting Party will
           explain generally the basis for the additional requested terms,
           which could include, for example, identifying by Bates number
           exemplar documents that support the request.

     b.    Producing Party Provides Information Sufficient to Support Its
           Objections: No later than 10 days after the requesting Party
           provides an additional set of proposed search terms, the producing
           Party will provide information sufficient to support its objections
           to specific additional search terms, which could include, for
           example, estimates of the incremental number of false positive hits
           and the incremental number of true positive hits introduced by the
           disputed additional search terms, as well as examples of the false
           positive hits.

     c.    Requesting Party and Producing Party Will Meet and Confer
           Regarding Requesting Party’s Proposed Additional Search Terms:
           No later than 15 days after the requesting Party proposes an
           additional set of search terms, the Parties will meet and confer

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                           regarding any disputes or counter-proposals regarding the
                           additional search terms. To the extent any disputes remain
                           concerning the sufficiency of the producing Party’s information in
                           support of its objections and/or the use of specific additional search
                           terms after good faith negotiations have occurred, either Party may
                           request the assistance of the Special Master in resolving such
                           disputes.

                   d.      Good Cause Inability of a Party to Meet the Deadlines Imposed in
                           this Order: While it is expected that the Parties shall make their
                           best efforts to comply with the deadlines set forth in this Order, it
                           is conceivable that technical (or other) issues or unanticipated
                           volumes may interfere with a Parties’ best efforts to comply.
                           Should a Party anticipate that for good cause it may be unable to
                           meet a deadline set forth in this Order, the Party shall promptly
                           raise the issue with the other Parties, explain the reason for the
                           inability to timely comply, and negotiate a reasonable extension for
                           compliance. If the Parties are unable to immediately agree upon a
                           revised deadline for compliance, they shall promptly raise the issue
                           with the Special Master or the Court for resolution. This provision
                           shall not be construed as blanket permission for a Party to modify
                           or extend the deadlines agreed to by the Parties and set forth in this
                           Order without good cause, but rather, to recognize that when
                           dealing with search and review of large volumes of electronically
                           stored information, there are sometimes legitimate, unanticipated
                           challenges that may interfere with a Party’s best efforts to fulfill its
                           obligations and therefore, to afford the Parties reasonable
                           flexibility and mutual accommodation should such eventuality
                           occur.

III.   VALIDATION PROTOCOL

       A.   The review process should incorporate quality-control and quality-assurance
            procedures to ensure a reasonable production consistent with the requirements of
            Federal Rule of Civil Procedure 26(g). Once a producing Party reasonably
            believes that it has produced or identified for production substantially all
            responsive non-privileged documents, it shall conduct validation according to the
            sampling protocol described below and in Appendix A. This Validation Protocol
            shall apply to the review process regardless of whether technology-assisted
            review (“TAR”) or exhaustive manual review (“manual review”) was used by the
            producing Party.

       B.   The Document Collection (“Collection”) is defined as including all documents
            identified for review for responsiveness and/or privilege following the application
            of keywords or other culling criteria. This Validation Protocol assumes that the
            completeness or adequacy of the Collection has already been established. For
            purposes of the three putative plaintiff classes’ validation requirements under this

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     Validation Protocol, the Collection refers to the combined set of documents of a
     particular proposed class of plaintiffs, rather than to each individual named
     representative of a particular class of plaintiffs.

C.   The Collection shall be partitioned into the following two or three Subcollections,
     for manual review or for TAR processes, respectively:

     1.     Documents identified by the review as responsive to at least one Request
            for Production, including any privileged documents, but not including
            family members of responsive documents, unless those family members
            are deemed to be responsive in their own right (“Subcollection C(1)”);

     2.     Documents coded as non-responsive by a human reviewer, regardless of
            how the documents were selected for review (e.g., by TAR, manual
            review, or otherwise) (“Subcollection C(2)”);

     3.     Documents excluded from manual review as the result of a TAR process
            (“Subcollection C(3)”). If the review process involved only manual
            review and no TAR, the Collection will not include Subcollection C(3).

D.   A sample shall be drawn consisting of the following:

     1.     500 documents selected          at   random     from   Subcollection    C(1)
            (“Subsample D(1)”);

     2.     500 documents selected at random from Subcollection C(2), if TAR was
            used, otherwise 2,500 documents selected at random from Subcollection
            C(2), if manual review was used (“Subsample D(2)”);

     3.     2,000 documents selected at random from Subcollection 1(c) if TAR was
            used (“Sample D(3)”). If TAR was not used, there will be no
            Subsample D(3).

E.   Should a producing Party believe that the sample sizes specified in Paragraph
     III(D) would be disproportionate or unduly burdensome under the circumstances,
     that Party shall promptly raise the issue with the requesting Party. To the extent a
     dispute remains concerning the sample sizes to be used after good faith
     negotiations have occurred, either Party may request the assistance of the Special
     Master in resolving such dispute.

F.   The sample of 3,000 documents comprised of the documents from Subsamples
     D(1), D(2), and, if TAR was used, D(3), shall be combined into a single
     Validation Sample, with no indication of the Subcollection from which the
     documents were derived or how they were previously coded. The Validation
     Sample shall be reviewed and coded by a subject matter expert (“SME”) who is
     knowledgeable about the subject matter of the litigation. This should be an
     attorney who is familiar with the RFPs and the issues in the case. During the
     course of the review of the Validation Sample, the SME shall not be provided

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     with any information concerning the Subcollection or Subsample from which any
     document was derived or the prior coding of any document. The intent of this
     requirement is to ensure that the review of the Validation Sample is blind; it does
     not preclude a Party from selecting as SMEs attorneys who may have had prior
     involvement in the original review process.

G.   Once the coding in Paragraph III(F) has been completed, the producing Party
     shall prepare a table listing each of the 3,000 documents in the Validation Sample.
     For each document, the table shall include:

     1.     the Bates number of the document (for documents produced), or a
            control/identification number (for non-produced documents);

     2.     the Subsample from which the document came (i.e., D(1), D(2), or, if
            TAR was used, D(3));

     3.     the SME’s responsiveness coding for the document (i.e., responsive or
            non-responsive);

     4.     the SME’s privilege coding for the document (i.e., privileged or not
            privileged). If the document is coded as non-responsive, a privilege
            determination need not be made. All documents in the Validation Sample
            coded as privileged shall be included on the producing Party’s Privilege
            Log, as per the requirements set forth in ¶ VI of ESI Protocol (Dkt. 459).

     5.     for putative class plaintiffs, the named class representative associated with
            the document.

H.   The following items shall be provided to the requesting Party and to the Special
     Master:

     1.     the table described in Paragraph III(G);

     2.     a copy of each responsive, non-privileged document in the Validation
            Sample that was not previously produced or identified for production to
            the requesting Party;

     3.     the statistics and recall estimate detailed in Appendix A to this Order.

I.   Once the requesting Party has received and has had an opportunity to review the
     items described in Paragraph III(H) and Appendix A, the Parties shall meet and
     confer to determine whether or not the Parties agree that the recall estimate, and
     the quantity and nature of the responsive documents identified through the
     sampling process, indicate that the review is substantially complete. If the recall
     estimate and the samples indicate that Subcollections C(2) and/or C(3) still
     contain a substantial number of non-marginal, non-duplicative responsive
     documents as compared to Subcollection C(1), the review and quality assurance
     process shall continue, and the validation process shall be repeated, as warranted.

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             If the parties are unable to agree on whether the review is substantially complete,
             or whether the validation process must be repeated, the Special Master shall
             render a decision, subject to the Parties’ rights to petition the Court for review of
             or relief from any decision or guidance provided by the Special Master.




SO ORDERED.

Dated: January 3, 2018                              /s/ Maura R. Grossman
                                                    MAURA R. GROSSMAN
                                                    SPECIAL MASTER

       January 3, 2018
Dated: _____________                                __________________________
                                                    HON. JEFFREY T. GILBERT
                                                    U.S. MAGISTRATE JUDGE




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                                        APPENDIX A

                                 Method of Recall Estimation

        An estimate of recall shall be computed to inform the decision-making process described
in III(H) of the Validation Protocol; however, the absolute number in its own right shall not be
dispositive of whether or not a review is substantially complete. Also of concern is the novelty
and materiality (or conversely, the duplicative or marginal nature) of any responsive documents
identified in Subsamples D(2) and/or D(3). The estimate of recall shall be derived as described
below, depending on whether or not the review process involved the use of TAR. It should be
noted that, when conducted by an SME pursuant to Paragraph III(F) of the Validation Protocol, a
recall estimate on the order of 70% to 80% is consistent with, but not the sole indicator of, an
adequate (i.e., high-quality) review. A recall estimate somewhat lower than this does not
necessarily indicate that a review is inadequate, nor does a recall in this range or higher
necessarily indicate that a review is adequate; the final determination also will depend on the
quantity and nature of the documents that were missed by the review process.

Recall Estimation Method for a Review Process Involving TAR:

The number of responsive documents found ≈ the size of Subcollection C(1) × the number of
responsive docs in Subsample D(1) ÷ 500.

The number of responsive documents coded incorrectly ≈ the size of Subcollection C(2) × the
number of responsive documents in Subsample D(2) ÷ 500.

The number of responsive documents not reviewed ≈ size of Subcollection C(3) × the number of
responsive documents in Subsample D(3) ÷ 2,000.

Estimated recall ≈ the number of responsive documents found ÷ (the number of responsive
documents found + the number of responsive documents coded incorrectly + the number of
responsive documents not reviewed).

Recall Estimation Method for a Review Process Involving Manual Review:

The number of responsive documents found ≈ the size of Subcollection C(1) × the number of
responsive documents in Subsample D(1) ÷ 500.

The number responsive documents coded incorrectly ≈ the size of Subcollection C(2) × the
number of responsive documents in Subsample D(2) ÷ 2,500.

Estimated recall ≈ the number of responsive documents found ÷ (the number of responsive
documents found + the number of responsive documents coded incorrectly).




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